
720 S.E.2d 393 (2012)
In the Matter of L.N.H. and L.M.H., Minor Children.
No. 358P11.
Supreme Court of North Carolina.
January 26, 2012.
Mer O. Chut, for Hooks, Woodrow Albert (III).
Melanie Cranford, for Setzer, Jonathan Lee, et al.
Mary R. McKay, Morganton, for L.M.H., et al.
Edward Eldred, for Hooks, Mary Elizabeth Kennedy.

ORDER
Upon consideration of the petition filed on the 22nd of August 2011 by Respondent-Father in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*394 "Denied by order of the Court in conference, this the 26th of January 2012."
